                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )            Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )       Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )       ORDER GRANTING PLAINTIFF’S
      vs.                                   )       OMNIBUS MOTION TO FILE UNDER
                                            )       SEAL
CORRECTIONS CORPORATION OF                  )
AMERICA, et al.,                            )
                                            )
                             Defendants.    )
                                            )


       Having considered Plaintiff’s1 Motion for Leave to File Under Seal, IT IS HEREBY

ORDERED that:

       1.      The Memorandum of Law in Support of Plaintiff’s Motion to Exclude Opinion

Testimony of Defendants’ Non-retained Experts William Dalius, Harley Lappin, Don Murray and

Kim White; and the Memorandum of Law in Support of Plaintiff’s Motion to Exclude Expert

Testimony of Justin Marlowe (the “Memoranda”), as well as the Declaration of Christopher M.

Wood in Support of Plaintiff’s Motion to Exclude Opinion Testimony of Defendants’ Non-retained

Experts William Dalius, Harley Lappin, Don Murray and Kim White; and the Declaration of Willow

E. Radcliffe in Support of Plaintiff’s Motion to Exclude Expert Testimony of Justin Marlowe and the

exhibits thereto (the “Declarations”), may be filed under seal;

       2.      Unless Defendants (as the Producing Party) file a motion for continued sealing on or

before December 4, 2020, the Memoranda and Declarations shall be unsealed and become part of the

public record without need for further order of the Court; and
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      “Plaintiff” is Lead Plaintiff and Class Representative Amalgamated Bank, as Trustee for the
LongView Collective Investment Fund. “Defendants” are Corrections Corporation of America
(“CCA”) and certain of its executives. Following the filing of this action, Defendants rebranded
CCA and now refer to it as CoreCivic.


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         3.         If Defendants (as the Producing Party) file a motion for continued sealing of the

Memoranda and Declarations, any other party may file a reply to the motion for continued sealing on

or before December 11, 2020.

         IT IS SO ORDERED.

                                                 ____________________________________
                                                 THE HONORABLE ALETA A. TRAUGER
                                                 UNITED STATES DISTRICT JUDGE




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